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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


   U NITED S TATES OF A MERICA
                                               Criminal Action No.
         v.
                                               1:14-CR-00227-TCB-RGV
   AARON BLAKE BUCKLEY,
   DAVID LEE, AND
   GARY EDWIN SHARP, II


  MOTION OF THE UNITED STATES FOR WITHDRAWAL OF COUNSEL



   The United States of America files this Motion for Withdrawal of John

Zacharia as an attorney of record for the Government in this case for the

following reasons:

      1. Assistant United States Attorney Christopher C. Bly remains the

counsel of record for the United States and should be noticed for all pleadings.

      2. The withdrawal of John Zacharia will not delay or interrupt the orderly

operation of the Court as AUSA Bly will remain counsel of record.
      Accordingly, the United States respectfully requests that this Court grant

an Order to withdraw John Zacharia as counsel of record for the Government in

this case. A Proposed Order is attached for the Court’s convenience.
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                                 Respectfully submitted,

                                 J OHN A. H ORN
                                     United States Attorney


                              /s/C HRISTOPHER C. B LY
                                    Assistant United States Attorney
                                 Georgia Bar No. 064634
                                 Chris.Bly@usdoj.gov




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                             Certificate of Service

The United States Attorney’s Office served this document today by filing it using

the Court’s CM / ECF system, which automatically notifies the parties and counsel
of record.




August 10, 2017


                                         /s/ C HRISTOPHER C. B LY

                                         CHRISTOPHER C. BLY

                                         Assistant United States Attorney
